 

Case 3:22-cv-02131-S-BT Document 3 Filed 09/26/22 Pagei1of12 PagelD5

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ji ui A IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS 9: 022 SEP 26 PM |: is

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LUCAS HORTON,
Plaintiff,

V.

3-22CV2131-S

EVERYTHING BREAKS INC,
Defendant

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Plaintiff Lucas Horton (“Plaintiff”) brings this Complaint against Everything breaks, INC
(“Defendant”) for three reasons. First is the practice of making telephone solicitations to
consumers without the required registration certificate to do so. Second is the Defendant’s
practice of placing telemarketing calls placed to consumers on the National Do Not Call List
using an ATDS. Third is to obtain damages and other redress caused by Defendant’s conduct.
Plaintiff, for his Complaint, alleges as follows upon personal knowledge as to himself and his

own acts and experiences, and, as to all other matters, upon information and belief.

PARTIES
Plaintiff is an individual who resides in Dallas County, Texas and was in Dallas County for all
calls in this case. Defendant is a corporation organized and existing under the laws of the
State of Texas whose primary place of business and corporate headquarters is located at
3100 McKinnon St, Ste 440, Dallas, TX 75201. Defendant’s Registered Agent is United
Corporate Services, INC and can be served at 815 Brazos St, Ste 500, Austin, TX 78701.

JURISDICTION & VENUE

The Court has subject matter jurisdiction under 28 U.S.C § 1331, because the case arises under the
Telephone Consumer Protections Act, 47 U.S.C. § 227. This court has supplemental subject matter

jurisdiction over Plaintiff's claims arising under both Texas Business & Commerce Codes 305.053 (“Tx 305”)

 
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and 302.101 (“Tx 302”) because the claim arises from the same group of calls Defendant made to Plaintiff.

Plaintiff also makes a claim under § 64.1200(d). This Court has general personal jurisdiction
over the defendant because they are headquartered in Texas, have repeatedly placed calls to
Texas residents, derive revenue from Texas residents, and they sell goods and services to
Texas residents, including the Plaintiff. Defendant is also based in this District.

Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(I)(2) because a

substantial part of the events giving rise to the claims - the calls and sale of goods and
services directed at Texas residents, including the Plaintiff - occurred in this District and

because the Plaintiff resides in this district.

FACTS

1. Tx 305 has an analogous portion that is related to the TCPA and WAS violated in this case. It
makes it illegal to call a mobile phone for the purposes of solicitation if the caller knows, or
should know, that the number called is a cell phone. It states that “ (a) A person who receives a
communication that violates 47 U.S.C. Section 227, a regulation adopted under that provision,
or Subchapter A may bring an action in this state against the person who originates the
communication for: $500 for each violation; or... If the court finds that the defendant
committed the violation knowingly or intentionally, the court may increase the amount of the
award of damages under Subsection (b) to not more than the greater of: $1,500 for each

violation;”.

2. Itisa violation of Section 227(c) to make or transmit a telephone solicitation to any person who
is a subscriber to the do not call registry. 47 U.S.C. 227(c)(3)(F). Individuals have a private right to

action “to recover for actual monetary loss from such a violation, or to receive up to $500 in
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damages for each such violation, whichever is greater... .” 47 U.S.C. 227(c)(5)(B). If the Court
finds that the defendant's violation was committed willfully or knowingly, the Court may treble
plaintiffs award. 47 U.S.C. 227(c) (5).

Plaintiff has been on the National DNC list since June 2020.

47 U.S.C. § 227(b)(1)(A) states that, “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using any
automatic telephone dialing system.

47 CFR 64.1200(d)(2) requires that Defendant train their personnel engaged in

telemarketing on the written policy and the existence of the Do Not Call Policy.

The internal DNC policy should be available on demand.

The TCPA provides a provides multiple private rights of action to persons who receive calls in
violation of § 227 (c) or a regulation promulgated thereunder 47 U.S.C. f 227(c)(5).

The FCC requires "prior express written consent" for all autodialed or prerecorded
telemarketing robocalls to wireless numbers and residential lines. In particular:[A]
consumer's written consent to receive telemarketing robocalls must be signed and be
sufficient to show that the consumer: (1) received clear and conspicuous disclosure of the
consequences of providing the requested consent, i.e., that the consumer will receive
future calls that deliver prerecorded messages by or on behalf of a specific seller; and (2)
having received this information, agrees unambiguously to receive such calls at a
telephone number the consumer designates. In addition, the written agreement must be
obtained without requiring, directly or indirectly, that the agreement be executed as a
condition of purchasing any good or service.

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prof. Act of 1991,

27 FCC Red. 1830, 1844, 33 (2012) (footnote and internal quotation marks omitted).
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FCC regulations "generally establish that the party on whose behalf a solicitation is made bears
ultimate responsibility for any violations." /n the Matter of Rules and Regulations
Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC Red. 12391, 12397 ,S 13

(1995).

. The FCC confirmed this principle in 2013, when it explained that "a seller ... may be held
vicariously liable under federal common law principles of agency for violations of either section
227(b) or section 227(c) that are committed by third-party telemarketers." /n the Matter of the
Joint Petition Filed by Dish Network, LLC, 28 FCC Red. 6574, 6574, 1 (2013).

. A corporate officer involved in the telemarketing at issue may be personally liable under the
TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-10010, 2013
U.S. Dist. LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) ("[MJany courts have held that
corporate actors can be individually liable for violating the TCPA where they had direct,
personal participation in or personally authorized the conduct found to have violated the
statute." (internal quotation marks omitted)); Maryland v. Universal Elections, 787 F. Supp. 2d
408,415 - 16 (D. Md. 2011) ("*G an individual acting on behalf of a corporation could avoid
individual liability, the TCPA would lose much of its force.").

. Under the Tx 302, a seller may not make a telephone solicitation from a location in this state or
to a purchaser located in this state unless the seller holds a registration certificate for the
business location from which the telephone solicitation is made.

. Aperson makes a telephone solicitation if the person effects or attempts to effect a telephone
solicitation, including a solicitation initiated by an automatic dialing machine or a recorded

message device. Tex. Bus. & Commerce Code § 302.002.

13. The Plaintiff may seek damages under Texas law for violations of the TX 302 of up to $5000 per

 
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violation, reasonable costs of prosecuting the action, court costs, investigation costs, deposition
expenses, witness fees, and attorney fees.

Plaintiff is the owner and customary user of a cellphone number ending in 0625.

At no time did Plaintiff ever provide his cellphone number to Defendant or provide
Defendant, or any of Defendant’s agents or contractors, with any kind of written or verbal
prior express consent to call.

Prior to receiving the above-referenced calls, Plaintiff had no relationship with Defendant,
had never provided his telephone number directly to Defendant, and had never requested
that Defendant place calls to him or to offer him any products or services.

Plaintiff was called by 469-642-0719 on 8/4/2022, 940-253-4548 on 8/10/2022, 940-233-
7714 on 8/11/2022, 469-341-3012 pm 8/17, 2022, 469-703-7234 8/26/2022, 469-399-
6722 on 8/29/2022, 469-469-361-0448 on 9/15/2022, and by 469-370-2104 on

9/15/2022 as well. On the second call received on 9/15/2022, Plaintiff purchased an auto
warranty with contract number EBTLO026173 to identify who was actually behind the
calls.

A truthful discovery by the Defend would undoubtedly reveal additional calls as the
Plaintiff doesn’t answer the phone very often unless it is a contact in hos phone.

All of these calls used spoofed caller ID numbers with Texas area codes.

Each call began with a beep signifying an ATDS was used, then a caller came on the line a
few seconds later saying they were calling from dealer or vehicle services and that the

factory warranty on the Plaintiff's car was expired or about to expire.

FACTUAL ALLEGATIONS

Defendant and/or its proxies place unwanted telemarketing calls to solicit consumers to

purchase auto warranties.

 
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All of the calls at issue were made by, on behalf of, for the benefit of, and with the knowledge
and with the approval of the Defendant.

Rather than adhere to the requisite rules regarding obtaining consent prior to engaging in
telemarketing and abstaining from the use of pre-recorded messages, Defendant (or a third-
party acting on their behalf and for their benefit) repeatedly place calls to consumers who
have never provided consent (either orally or in writing) to receive such calls. By placing the
calls without first obtaining prior express written consent with pre-recorded messages,

Defendant plainly violates the 47 U.S.C. § 227, et seq, Tx 305 and Tx 302.

By making unauthorized telemarketing calls, Defendant has caused the Plaintiff actual harm.
This includes loss of productivity, the aggravation, nuisance and invasions of privacy that
result from the receipt of such calls. This is in addition to the wear and tear on his telephone,
consumption of battery life, lost ability to place outgoing calls or texts and other interruption
in use, cellular minutes, loss of value realized for the monies he paid to his carrier for the
receipt of such calls, and other diminished use, enjoyment, value, and utility of their
cellphones and cellphone plans. Robocalls take actual time to deal with and lost time is a real
injury. Not only is this annoying, but many times, these calls are at the expense of the
Plaintiff’s productivity at work.

Furthermore, Defendant (or a third-party acting on their behalf and for their benefit) made
the calls knowing that the calls trespassed against and interfered with Plaintiff's use and
enjoyment of, the ability to access his telephone, including the related data, software,
applications, and hardware components. As such, Defendant not only invaded the personal

privacy of Plaintiff, they also intentionally, repeatedly, and willfully violated the TCPA.

 

 
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26. In response to Defendant’s unlawful conduct, Plaintiff files the lawsuit and seeks an
injunction requiring Defendant and its proxies to cease all unsolicited telephone calling
activities to consumers as complained of herein and an award of statutory damages to the
Plaintiff, together with costs, and pre- and post-judgment interest.

FIRST CAUSE OF ACTION
Violation of 47 U.S.C. § 227(b)(1)(A)
Telephone Consumer Protection Act

Plaintiff incorporates the foregoing allegations as if fully set forth herein. Using an ATDS, the
Defendant, or its proxy, called the Plaintiff without the Plaintiff's consent, knowledge, and for its
benefit without having any consent to do so from the Plaintiff. The calls were made for the
express purpose of selling auto warranties. As a result of the damages suffered by the Plaintiff,
he is entitled to recover $500 per call in a civil fine for the offense. However, in light of
Defendant’s willful nature of the offense , treble damages of $1500 are more than appropriate
under 47 U.S.C. § 227(b)(3)(C) for willful and/or knowing conduct.

SECOND CAUSE OF ACTION

Violation of 47 U.S.C.. § 227(c)(3)(F)
Telephone Consumer Protection Act
Plaintiff incorporates the foregoing allegations as if fully set forth herein. The Plaintiff has
been on the National Do Not Call List Since December of 2011 because he does not want to be
called or texted by entities who do not have his permission. As a result of the damages
suffered by the Plaintiff, he is entitled to recover $500 in a civil fine for each offense under
227(c)(3)(5)(B). However, in light of Defendant’s willful nature of the offense, treble damages
of $1500 are more than appropriate.
THIRD CAUSE OF ACTION
Violation of § 64.1200(d)(1)

Failure to Maintain Written Telemarketing Policy

Plaintiff incorporates the foregoing allegations as if fully set forth herein. 47 CFR 64.1200(d)(1)

 
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requires that the Defendant have a written telemarketing policy. Defendant does not and
obviously does not think the TCPA applies to them. Plaintiff is entitled to an award of at least
$500 in damages for each such violation under 47 U.S.C. § 227(c)(5)(B). However, in light of the
willful behavior shown by the Defendant, as well as the nature of the offense, treble damages of
$1500 are more than appropriate.
FOURTH CAUSE OF ACTION
Violation of Tx 305
Texas State TCPA Law
Defendant made numerous non-emergency telemarketing robocalls to Plaintiff's phone
without his prior express consent in violation of 47 U.S.C. 227 et seq. Defendant violated 47
U.S.C. 227(d), 47 U.S.C. 227(d)(3), and 47 U.S.C. 227(e) by using an ATDS that does not comply
with the technical or procedural requirements under this subsection. The Tx 305 creates a
private right of action for “a person who receives a communication that violates U.S.C. Section
227 [or] a regulation adopted under that provision ... against the person who originates the
communication .... “ Tex. Bus. & Com. Code § 305.053(a). Therefore, the elements of a Tx 305
claim “correspond to the necessary elements for a TCPA claim.” Callier v. GreenSky, Inc., No. EP-
20-CV-00304-KC, 2021 U.S. Dist. LEXIS 126769, 2021 WL 2688622, at *6 (W.D. Tex. May 10,
2021). Plaintiff is entitled to an award of $500 in damages for each violation under §
305.053(b)(1). Plaintiff also requests the Court award treble damages of $1500 based on
Defendant’s knowing and/or intentional violations under §305.053(c)(1) and their proven and
willful disregard for the TCPA. Plaintiff also seeks a permanent injunction requiring Defendant
to cease placing illegal telemarketing calls.
FIFTH CAUSE OF ACTION
Violation of 47 CFR § 64.1200(d)(4)

Failure to Provide Identifying Information

Plaintiff incorporates the foregoing allegations as if fully set forth herein. 47 CFR 64.1200(d)(4)

 
 

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requires that Defendant provides the called party with the name of the individual caller, the name

of the person or entity on whose behalf the call is being made, and a telephone number or

address at which the person or entity may be contacted. Defendant did not fulfill this
requirement, which was why the Plaintiff had to purchase the policy to identify who was behind
the calls. Plaintiff is entitled to an award of $500-1500 in damages for each violation. 47 U.S.C. §
227(c)(5)(B). Plaintiff seeks treble damages of $1500 per call as the Defendant has displayed
willful behavior in its TCPA violations. Plaintiff also seeks a permanent injunction requiring

Defendant to provide their identifying information when making telemarketing calls.

SIXTH CAUSE OF ACTION
Violation of § 64.1200(d)
Telemarketing without mandated safeguards

Plaintiff incorporates the foregoing allegations as if fully set forth herein. The foregoing acts and

omissions by Defendant and/or its affiliates or agents constitute multiple violations of FCC

regulations by making telemarketing solicitations despite lacking:

a. Written policy, available on demand, for maintaining a do not call list, in violation of 47 C.F.R
§ 64.1200(d)(1),

b. Training for individuals involved in the telemarketing on the existence and use of a do not
call list in violation of C.F.R § 64.1200(d)(2).

c. In the solicitations made to the Plaintiff, the name of the individual caller and the name of
the person or entity on whose behalf the call is being made, in violation of C.F.R §
64.1200(d)(4). Plaintiff is entitled to an award of at least $500 in damages for each such
violation. 47 U.S.C. § 227(c)(5)(B). However, in light of Defendant’s willful behavior and the

nature of the offense, treble damages of $1500 are more than appropriate.

SEVENTH CAUSE OF ACTION
Violation of TX 302

 
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Telemarketing without mandated business license

Plaintiff incorporates the foregoing allegations as if fully set forth herein. Tx 302 prohibits sellers

from engaging in telephone solicitations from a location in this state or to a purchaser located in

this state unless the seller obtains a registration certificate from the Office of the Secretary of

State for the business location from which the solicitation is made. It also provides that a person

who violates this chapter is subject to a civil penalty of no more than $5000 per violation.

Furthermore, it provides that the party bringing the action is entitled to recover all reasonable

costs of prosecuting the action, including court costs, investigative costs, deposition expenses,

witness and attorney fees.

Prayer For Relief

WHEREFORE, Plaintiff Lucas Horton prays for judgment against the Defendant as follows:

A. An injunction enjoining the Defendant and their affiliates from engaging in the unlawful
conduct set herein;

B. An award of $1500 per call for Causes of action 1-6 for the 8 calls received by the Plaintiff.

CG An award of $5000 per call (8) for the 7" cause of action, plus additional damages for time
spent in lieu of the Plaintiff hiring an attorney.

D. An award of damages to the Plaintiff, as allowed by under the TCPA.

E. An award to the Plaintiff of interest, costs and attorney’s fees, as allowed by law and
equity: and
E; Such further relief as the Court deems necessary, just, and proper.

Demand For Jury Trial
Please take notice that the Plaintiff demands a jury trial in this case

Dated: 9/21/2022 Respectfully submitted,
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A Wold

 

Lucas Horton
lukeduke365@yahoo.com
1202 Stratford Dr
Richardson, TX 75080

Tel: (214) 909-3341

 
 

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Lucas Horton Everything Breaks, Inc

 

 

   
  
 

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(b) County of Residence of First Listed Plaintiff Dallas

(EXCEPT IN U.S. PLAINTIFF CASES)

 

NOTE:

   

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Lucas Horton, pro se litigant
1202 Stratford Dr, Richardson, Tx 75080 214 909 3341

 

 

 

 

WN
II. BASIS OF JURISDICTION (Place an “xX” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL TES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government (]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [x] 1 [J 1 Incorporated or Principal Place C4 [xj4
of Business In This State
O 2 U.S. Government [x]4 Diversity Citizen of Another State OC 2 CL] 2 Incorporated and Principal Place C] 5 Oo 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a CO 3 O 3 Foreign Nation CO 6 CT] 6
Foreign Country

 

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

 

 

 

  
 

 

  

 

 

  

 

 

 

 

 

 

 

Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Cc] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability rT] 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability OC 367 Health Care/ . | 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical TS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability 368 Asbestos Personal 835 Patent - Abbreviated | 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Vetcrans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
oO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR r | 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act [x] 485 Telephone Consumer
190 Other Contract Product Liability CL) 380 Other Personal y 4720 Labor/Management | SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C 385 Property Damage 740 Railway Labor Act 862 Black Luny (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY| | PRISONER PETITIONS |_|790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: )|791 Employee Retirement !) 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General r | 871 IRS—Third Party 899 Administrative Procedure
290 All Other Real Property 445 Amer. w/Disabilities -[- ] 535 Death Penalty | IMMIGRATION _| 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -[_| 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original 2 Removed from 3. Remanded from 4 Reinstated or 5 Transferred trom 6 Multidistrict 8 Multidistrict
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION #2US.C 8227

Brief description of cause:

TCPA violations of making calls with an ATDS to a consumer on the DNC list

 

 

 

 

 

 

 

 

VII. REQUESTEDIN = (J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 112,000 JURY DEMAND: [e]Yes [No
VII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
9/22/2022 Lucas Horton, pro se plantiff
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
